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                           THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF COLUMBIA



                                               )
GARY H. KNUTSON                                )
182613 TH STREET, N.W #3                       )
WASHINGTON, DC 20009                           )
                                               )
RONNIE C. DONA                                 )
101 COLEMAN PARK LANE                          )

ROCKVILLE, MD 20850	                           )       FAIR LABOR STANDARDS ACT

                                               )
v.                                             )

                                               )       DEMAND FOR JURY TRIAL

VOORTHUIS OPTICIANS INC. and                   )
ALBERT VOORTHUIS, Individually                 )
3301 NEW MEXICO AVENUE                         )
WASHINGTON, D.C. 20016                         )
                                               )

-------------)


                                         COMPLAINT


        Plaintiffs Gary H. Knutson ("Knutson") and Ronnie C. Dona allege by their attorney,

Denise M. Clark, as follows:

                                    NATURE OF ACTION

     1.	 This is a challenge to Defendants', Voorthuis Opticians, Inc., ("Voorthuis") and Albert

        Voorthuis, (collectively "Defendants"), unlawful practice of failing to pay time-and-a­

        half for the overtime work of its employees.

     2.	 Pursuant to the Fair Labor Standards Act, 29 U.S.C.§§ 201 et seq ("FLSA"), Plaintiffs

        allege that they are (1) entitled to unpaid overtime wages from Defendant for work

        beyond forty hours per week; (2) entitled to liquidated damages equal to Plaintiffs'

        unpaid overtime wages under the FLSA, and; (3) all other statutory remedies appropriate

        for this action.
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3.	 Pursuant to Washington D.C. Wage Payment and Collection Act, D.C. Code § 32-1303,

    Plaintiffs allege that they are (1) entitled to unpaid wages withheld by Defendant for

    various weeks during their work history; (2) entitled to liquidated damages of ten percent

    (10%) of the unpaid wages and per working day after the day that wages were due, and;

    (3) all other statutory remedies appropriate for this action.

4.	 This Complaint is brought as a collective action pursuant to 29 U.S.C. § 216(b), on behalf

    of Plaintiffs and all other persons who are or have been employed by Defendant as sales

    persons, opticians, or other non-exempt positions for up to three years prior to the date

    this suit was commenced.

5.	 The members of the class are similarly situated because they all perform the same or

    similar job duties and are all subject to Defendants' common policies and practices of

    violating employees' protections of under FLSA, District of Columbia Minimum Wage

    Revision Act, and D.C. Wage Payment and Wage Collection Act.



                                 JURISDICTION AND VENUE

6.	 This Court has subject matter jurisdiction over Plaintiffs' FLSA claims pursuant to 28

   U.S.C. §1331 and §1337 and supplemental jurisdiction over Plaintiffs' D.C. Wage

   Payment claims pursuant to 28 U.S.C. §1367. Additionally, this Court has jurisdiction

   over Plaintiffs' FLSA claims pursuant to 29 U.S.C. §216(b).

7.	 Venue is proper in the U.S. District Court in the District of Columbia pursuant to 28

   U.S.C. §1391(a).


                                             PARTIES


8.	 Plaintiff, Knutson, is a natural person and resident of Washington, D.C.



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9. Plaintiff, Dona, is a natural person and resident of Washington, D.C.

10. On information and belief, Voorthuis is a Washington, D.C. corporation, with its

    principal place of business in Washington, D.C., located at Foxhall Square, 3301 New

    Mexico Avenue, Washington, D.C. 20016.

11. On information, Defendant Albert Voorthuis is the owner and officer of Voorthuis

    Opticians, Inc. During all times that this complaint addresses, Albert Voorthuis was

   responsible for determining the payroll practices of Voorthuis, including whether

   overtime wages would be paid.

12. Defendants were made aware of the violations of the FLSA by one or more Plaintiffs, and

   ignored the request that overtime be paid.

13. Defendants willfully committed the violations of law alleged herein.

14. Voorthuis maintains six additional locations in Washington, D.C., Maryland, and

   Virginia, and Defendants are engaged in interstate commerce.

15. Plaintiffs are employed at different locations Voorthuis maintains in the District of

   Columbia.

16. At all times material to this action, Plaintiff opticians filled customer orders for lenses

   pursuant to the prescriptions written by customers' ophthalmologists.

17. At all times material to this action Plaintiff sales opticians carried out sales

   responsibilities by consulting with customers regarding frames for their glasses. Plaintiff

   opticians are not medical professionals, but retail sales persons.

18. Defendant Voorthuis is, and at all times material to this action, was an enterprise within

   the meaning of Section 3(r) of the FLSA, 29 U.S.C. §203(r).




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19. At all times relevant to this action, Plaintiffs did not perfonn any work that was of a bona

    fide executive, administrative or professional nature, or that would otherwise exempt

    them for the application of the Fair Labor Standards Act or the District of Columbia

    Wage Payment and Wage Collection Act.

20. This action is a collective action pursuant to the statutory requirements of the FLSA, 29

   U.S.C. 216(b); and The District of Columbia Wage Payment and Wage Collection Act,

    D.C. Code 32-1308(a). Plaintiffs consent to the commencement of this action on behalf

   of themselves and other similarly situated employees.

                                 FACTUAL ALLEGATIONS
                                     (Overtime Pay)

21. Plaintiffs consistently worked more than forty hours per week.

22. Plaintiffs were not paid time-and-a-half overtime compensation for their hours worked in

   excess of forty hours per work week.

23. Defendants paid Plaintiffs bi-weekly via a payroll check or direct deposit.

24. At all times relevant to	 this action Defendants have maintained a time-card system

   whereby, employees clock hours through a computer system at the worksite. Plaintiff

   Knutson's time sheet for the time period May 5, 2008 to May 18,2008, generated from

   this time-card system, is attached at Exhibit A.

25. At all times relevant to	 this action Defendant has maintained a centralized payroll

   operation under ADP, Inc.

26. Defendants directed ADP, Inc. not to report hours in excess of 40 on any employees' bi­

   weeldy paystub, and not to pay any employee time-and-a-half compensation for hours

   worked beyond forty hours a week. Plaintiff Knutson's pay stub for the time period May




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    5, 2008 to May 18, 2008, issued by ADP, and reflecting fewer hours worked than on

    Plaintiff Knutson's time sheet, is attached at Exhibit B.

27. For the entire duration of their employment, Plaintiffs have not received compensation

    for hours worked beyond forty hours a week.

28. Some Plaintiffs remain employed by the Defendants.

29. Those Plaintiffs who remain employed by Defendants still are not compensated overtime

    hours.

30. During all times covered by this complaint, Defendants knew that the Plaintiffs were not

    exempt from entitled overtime wages.

31. During all times covered this complaint, Defendants knew that overtime wages were due,

    and failed to pay Plaintiffs for the overtime hours they worked.

32. Pursuant to 29 U.S.c. §§ 207(a), 216(b), Defendants are liable to Plaintiffs for the full

    amount of all unpaid overtime wages, an additional amount of liquidated damages, and

    attorney's fees.

                       COLLECTIVE ACTION ALLEGATIONS

33. All members of the class were paid in the same or similar manner and under the same

   standard employment procedures and practices established by Defendants.

34. All members of the class, like the Plaintiffs, were subject to the same unlawful policy to

   exempt them from the overtime provisions of the FLSA and the District of Columbia

   Minimum Wage Revision Act.

35. All members of the class, like Plaintiffs, were subject to the same overtime pay violations

   by Defendants




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36. During the class period, the Defendants knew that the members of the class were not

    exempt from overtime provisions of the FLSA.

37. During the class period, the Defendants knew that they were required to record time and

    properly calculate wages, but engaged in misreporting hours worked for payroll purposes.

38. Pursuant to 29 U.S.C. §207(a) and §216(b), Defendants are liable to the Plaintiffs and

    members of the class for the full amount of all of their unpaid wages, their unpaid

    overtime wages, plus an additional amount of liquidated damages, plus the attorney's fees

    and costs of the members of the class.

39. Plaintiffs are currently unaware ofthe identities of all members of the class. Accordingly,

    Defendant should be required to provide a list of all persons employed by Defendant,

    stating their last known addresses and telephone numbers, so that Plaintiffs can give

   notice of the pendency of this action.



            FIRST CLAIM FOR RELIEF FAIR LABOR STANDARDS ACT
                             (Overtime Violations)


40. Plaintiffs allege and incorporate by reference all of the above allegations.

41. Under the FLSA, Plaintiffs are entitled to overtime compensation from the Defendant for

   one-and-one-half times per regular rate of hourly pay for hours worked in excess of forty

   hours per week. By the above course of conduct the Defendants have violated the FLSA.

42. Defendants' failure to pay overtime wages was willful and not in good faith as evidenced

   by its failure to pay overtime when Defendants knew, or should have known, that such

   was due.




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43. Defendants had and continue to have a policy against paying overtime for hours worked

   in excess of 40 hours per workweek, and have failed to pay the required overtime.

44. Defendants have failed to properly inform Plaintiffs of their rights under the FLSA.

45. Due to Defendants' FLSA violations, Plaintiffs are entitled to recover from Defendants

   unpaid overtime compensation, liquidated damages, reasonable attorneys' fees, and the

   costs ofthis action, pursuant to 29 U.S.C. § 216(b).



                               SECOND CLAIM FOR RELIEF
                               RETALIATION UNDER FLSA
                                   (Gary H. Knutson)

46. Plaintiff Knutson alleges and incorporates by reference all of the above allegations

47. Plaintiff Knutson performed his	 job in a satisfactory manner, meeting Defendants'

   legitimate business expectations during his tenure. He never had a poor performance

   evaluation during his tenure, and was promoted to Manager at one of Defendants'

   locations in Washington, D.C. on or about March 16,2009.

48. On	 or about March 31, 2009, Plaintiff Knutson was demoted by Albert Voorthuis.

   Knutson was told that the demotion resulted from a customer complaint, which Knutson

   had never heard about.

49. Upon further inquiry, Knutson learned that Albert Voorthuis demoted Knutson after

   learning from various employees that Knutson had challenged Defendants' failure to pay

   overtime with John Morley, Vice-President, responsible for payroll and benefits; had

   advised other employees of the FLSA violations; and, had consulted legal counsel about

   his rights to sue for unpaid overtime.




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50. Plaintiff Knutson was told to report to an individual he had been promoted over,

   effectively forcing Knutson's resignation.

51. Pursuant to 29 U.S.C. §§ 207(a), 216(b), Defendants are liable to Plaintiffs for the full

   amount of all unpaid overtime wages, an additional amount of liquidated damages, and

   attorney's fees.

52. Pursuant to 29 U.S.C. §215(a)(3), Defendants are liable to Plaintiff Knutson for back-pay

   resulting from his wrongful demotion and constructive discharge and punitive damages

   resulting from Defendants' retaliatory conduct.


                           THIRD CLAIM FOR RELIEF
                D.C. WAGE PAYMENT AND WAGE COLLECTION ACT


53. Plaintiffs allege and incorporate by reference all ofthe above allegations.

54. Under the D.C. Wage Payment and Wage Collection Act, every employer shall pay all

   wages earned to his employees at least twice during each calendar month, on regular

   paydays designated in advance by the employer; provided, however, that an interval of

   not more than 10 working days may elapse between the end of the pay period covered

   and the regular payday designated by the employer. See D.C. Code §32-1302.

55. Due to Defendants' D.C. Wage Payment and Wage Collection Law violation, Plaintiffs

   are entitled to their hourly overtime compensation and liquidated damages in an equal

   amount pursuant to D.C. Code 32-1308(a).




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                                       PRAYER FOR RELIEF

Plaintiff respectfully requests that this Court grant the following relief:

    56. Award Plaintiff the following compensatory damages:
          a.	 Unpaid overtime compensation due under the FLSA;
          b.	 Unpaid overtime compensation due under the D.C. Wage Payment and Wage
              Collection Act;

    57. Award Plaintiff the following liquidated damages:

           a.	 Liquidated damages equal to their unpaid overtime hours under the FLSA;
           b.	 Liquidated damages under the D.C. Wage Payment and Wage
           c.	 Collection law of ten percent (l 0%) of the unpaid wages per working day after the
               day that wages were due.

    58. Award Plaintiff prejudgment interest;

    59. Award Plaintiffs punitive damages for willful violations;

    60. Award Plaintiff reasonable attorneys' fees as well as the costs of this action;

    61. Award such other relief as this Court deems necessary and proper.

                               DEMAND FOR JURY TRIAL

Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands a trial by jury

on all questions of fact raised by the Complaint.


Dated: April 18, 2009



                                                       Respectfully submitted,




                                                        e . e M. ark (420480)
                                                      T e Law Office of Denise M. Clark, PLLC
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                      EXHIBIT A

TIME CLOCK REPORT                            Case 1:09-cv-00729-RJL Document 1 Filed 04/20/09 Page 11 of 13
 Period Beginning: 1/1/2008                          Period Ending: 1018/2008
Week of:   05/04/08
DATE             IN1     OUT1    STN        IN2   OUT2       STN      IN3   OUT3 STN   IN4   OUT4 STN     TOTAL
05/06/08        8:55     17:38      M                                                                      08:43
05/07/08        8:50     18:28      M                                                                         09:38
05/08/08        8:56     17:50      M                                                                         08:54
05/09/08        8:55     18:14      M                                                                         09:19
05/10/08     9:45        17:07      M                                                                         07:22

Subtotal Week of: 05/04/08                      Total:             43:56
                                              Regular:             40:00
                                             Overtime:             03:56

Week of:   05/11/08
DATE         IN1         OUT1    STN        IN2   OUT2       STN      IN3   OUT3 STN   IN4   OUT4 STN     TOTAL
05/12/08    8:56         17:33      M                                                                      08:37
05/13/08     8:53        18:15      M                                                                         09:22
05/14/08     8:52        18:05      M                                                                         09:13
05/15/08    8:47         17:29      M                                                                         08:42
05/16/08    8:54         16:04      M                                                                         07:10

Subtotal Week of: 05/11/08                      Total:             43:04
                                              Regular:             40:00
                                             Overtime:             03:04

Week of:   05/18/08
DATE         IN1         OUT1    STN        IN2   OUT2       STN      IN3   OUT3 STN   IN4   OUT4 STN    TOTAL
05/19/08    8:52         17:41     N                                                                      08:49
OS/20/08    8:52         17:29      N                                                                         08:37
OS/21/08    8:50         18:17      M                                                                         09:27
05/22/08    8:53         17:41      M                                                                         08:48
OS/23/08    9:06         10:30      M                                                                         01:24
OS/24/08    9:50         17:02      M                                                                         07:12

Subtotal Week of: 05/18/08                      Total:             44:17
                                              Regular:             40:00
                                             Overtime:             04:17

  Print Date:          10/08/2008   Time:         10:23 am                                                            Page 3 of 11
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                      EXHIBITB

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           '** *This'is ,nofacheck***
           . Direct Deposit Voucher




Gary H. Knutson                                                            Voorthuis Opticians Inc.                                                     Earnings Statement
                                                                           7475 Wisconsin Avenue - Suite 700 - Bethesda, MD 20814
                                         Fed Taxable Income               1351.15          Check Date:               May 16,2008               Voucher Nnmber             106528
EmpId                   350              Fed Filing Status                    S/1          Period Beginning:         May 05, 2008              Net Pay                   1.032.31
Location             000602              State Filing Status                  S/1          Period Ending:            May 18,2008               Check'Amount

Eanlings                Hours Amount        YTDAmt             Taxes/Deds                Ta.xable      NUOllllt      YTDAmt         Direct Deposits         Account         Nuount
REG                     80.00 1280.00        3840.00           MED                       1351.15        19.59           58.83       054001220        xxxxxxxxx4826          1032.31
BONS2                          184.00         202.00           SS                        1351.15        83.77          251.54       Total Direct Deposits                   1032.31
BONUS                                         128.00           FITW S/l                  1351.15       152.48          458.00
Total Gross Pay          80.00 1464.00       4170.00           DC S/l                    1351.15        63.00          190.00
                                                               FHI25                                   112.85          112.85
                                                               Total Withholding                       431.69         1071.22
                                                                                                                                    AcclUals                                 Dollars




                                                                                                                                    Benefits                    Amount    YTD Nul
